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                                                                                   United States District Court
                                                                                     Southern District of Texas

                                                                                        ENTERED
                        IN THE UNITED STATES DISTRICT COURT                           January 11, 2022
                        FOR THE SOUTHERN DISTRICT OF TEXAS                           Nathan Ochsner, Clerk

                                 HOUSTON DIVISION

DANIELLE FONTENOT,                             §
                                               §
       Plaintiff,                              §
                                               §
V.                                             §    CIVIL ACTION NO. H-21-1178
                                               §
COMMUNITY COFFEE COMPANY, LLC,                 §
                                               §
       Defendant.                              §

                      MEMORANDUM AND RECOMMENDATION

       Defendant Community Coffee Company, LLC’s pending “Motion for Summary Judgment

Based Upon the Valid and Enforceable Separation Agreement Between the Parties” (sealed

Document No. 16) has been referred to the undersigned Magistrate Judge for a Memorandum and

Recommendation. Having considered that motion, Plaintiff’s Response (Document No. 17),

Defendant’s Reply (sealed Document No. 18), the terms of the Separation Agreement relied upon

by Defendant, and the applicable law, the Magistrate Judge RECOMMENDS, for the reasons set

forth below, that Defendant’s Motion for Summary Judgment be GRANTED.



I.     Background

       Plaintiff Danielle Fontenot (“Fontenot”), a former employee of Defendant Community

Coffee Company, LLC (“Community Coffee”), filed this employment discrimination case against

Community Coffee alleging claims of race discrimination and retaliation under Title VII and 42

U.S.C. § 1981. Fontenot alleges that she was selected for termination during a reduction in force

(“RIF”) after she had raised complaints of race discrimination with Community Coffee’s Human

Resources Department. According to Fontenot, several Caucasian employees with less tenure than
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she were retained during the RIF.

       Community Coffee does not address the substance of Fontenot’s claims in its Motion for

Summary Judgment. Instead, relying on the terms of a Separation Agreement Fontenot signed,

Community Coffee argues that Fontenot released and waived any claims related to her employment

with Community Coffee, and that her claims should be dismissed with prejudice on that basis.

Fontenot, in response, admits that she signed the Separation Agreement, and admits that she received

and retained pursuant thereto a payment of $15,033.44. Despite those admissions, Fontenot argues

that she did not knowingly and voluntarily execute the Separation Agreement, and that her execution

of the agreement was obtained by fraud and duress. Fontenot further argues that it is of no

consequence that she did not return, and has not offered to return, the $15,033.44 she received

pursuant to the Separation Agreement.

       Because the undersigned concludes that the terms of the Separation Agreement foreclose any

viable claim of fraud/fraudulent inducement and/or duress, and because the Separation Agreement

covers the type of claims alleged by Fontenot in this case, there is no genuine issue of material fact

relative to the enforceability of the Separation Agreement or the release of Fontenot’s claims.

Community Coffee is therefore, for the reasons that follow, entitled to summary judgment.



II.    Summary Judgment Standard

       Rule 56(a) provides that “[t]he court shall grant summary judgment if the movant shows that

there is no genuine issue as to any material fact and that the movant is entitled to judgment as a

matter of law.” FED. R. CIV. P. 56(a). The moving party must initially “demonstrate the absence

of a genuine issue of material fact.” Celotex Corp. v. Catrett, 106 S. Ct. 2548, 2553 (1986). Once


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the moving party meets its burden, the burden shifts to the nonmovant, “who must, by submitting

or referring to evidence, set out specific facts showing that a genuine issue exists” and that summary

judgment should not be granted. Norwegian Bulk Transport A/S v. International Marine Terminals

Partnership, 520 F.3d 409, 412 (5th Cir. 2008); see also Morris v. Covan World Wide Moving, Inc.,

144 F.3d 377, 380 (5th Cir. 1998).1 A party opposing a properly supported motion for summary

judgment may not rest upon mere allegations or denials in a pleading, and unsubstantiated assertions

that a fact issue exists will not suffice. Celotex, 106 S. Ct. at 2548. Instead, “the nonmoving party

must set forth specific facts showing the existence of a 'genuine' issue concerning every essential

component of its case." Morris, 144 F.3d at 380.

       In considering a motion for summary judgment, all reasonable inferences to be drawn from

both the evidence and undisputed facts are be viewed in the light most favorable to the nonmoving

party. Matsushita Elec. Indus. Co. v. Zenith Radio Corp., 106 S. Ct. 1348, 1356 (1986). "If the

record, viewed in this light, could not lead a rational trier of fact to find" for the nonmovant, then

summary judgment is proper. Kelley v. Price- Macemon, Inc., 992 F.2d 1408, 1413 (5th Cir. 1993)

(citing Matsushita, 106 S. Ct. at 1351). On the other hand, if "the factfinder could reasonably find

in [the nonmovant's] favor, then summary judgment is improper." Id. Even if the standards of Rule

56 are met, a court has discretion to deny a motion for summary judgment if it believes that "the

better course would be to proceed to a full trial." Anderson, 106 S. Ct. at 2513.




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          Where “the dispositive issue is one on which the nonmoving party will bear the burden
of proof at trial, the moving party may satisfy its burden by merely pointing out that the evidence
in the record contains insufficient proof concerning an essential element of the nonmoving
party's claim.” Norwegian Bulk Transport A/S v. International Marine Terminals Partnership,
520 F.3d 409, 412 (5th Cir. 2008).

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III.    Discussion

        The Separation Agreement at issue in the nature of a “release.” See Separation Agreement

at ¶ 3 (“By entering into this Agreement and in exchange for the above payments Employee hereby

waives, releases, discharges, and agrees not to sue the Company ...”).

        “A release is a contract subject to the rules of contract construction. Accordingly, in order

to establish the affirmative defense of release, the party asserting the defense of release is required

to prove the elements of a contract.” In re J.P., 296 S.W.3d 830, 835 (Tex. App. – Ft. Worth 2009)

(internal citations omitted); D.R. Horton-Texas, Ltd. v. Savannah Properties Assocs., L.P., 416

S.W.3d 217, 226 (Tex. App. – Ft. Worth 2013) (“A release is an agreement or contract in which one

party agrees that a legal right or obligation owed by the other party is surrendered. . . . A release

extinguishes a claim or cause of action and is an absolute bar to any right of action on the released

matter.”). Once the existence of a release is properly pleaded or established, the burden shifts to the

opposing party – Fontenot in this case – to allege facts that would support a legal basis for “setting

aside the release.” Deer Creek Ltd. v. N. Am. Mortg. Co., 792 S.W.2d 198, 201 (Tex. App.– Dallas

1990). The legal bases for challenging a release are very limited, but include: fraud, duress, mistake,

and unconscionability. Ollie v. Plano Indep. Sch. Dist., 323 F. App'x 295, 297 (5th Cir. 2009);

Ridge Nat. Res., L.L.C. v. Double Eagle Royalty, L.P., 564 S.W.3d 105, 131 (Tex. App.– El Paso

2018). “To establish duress as an affirmative defense to a contract, [a party] must show that there

is (1) ‘a threat to do some act which the party threatening has no legal right to do,’ (2) ‘some illegal

exaction or some fraud or deception,’ and (3) ‘the restraint must be imminent and such as to destroy

free agency without presenting means of protection.”” See Sprague v. Kroger Texas, LP, No.

4:17-CV-00874-O, 2019 WL 885236, at *8 (N.D. Tex. Feb. 5, 2019), report and recommendation


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adopted, No. 4:17-CV-00874-O, 2019 WL 859686 (N.D. Tex. Feb. 22, 2019). As for fraudulent

inducement as a basis for challenging the validity of a release, it is for the party asserting fraudulent

inducement to “establish ‘the elements of fraud ... as they relate to an agreement between the

parties.’” Smith v. Wells Fargo Bank N.A., No. 3:19-CV-02406-X-BT, 2021 WL 3935276, at *5

(N.D. Tex. Aug. 18, 2021), report and recommendation adopted sub nom. Smith v. Wilson, No.

3:19-CV-02406-X-BT, 2021 WL 3930723 (N.D. Tex. Sept. 2, 2021) (quoting Coastal Bank SSB v.

Chase Bank of Tex., N.A., 135 S.W.3d 840, 843 (Tex. App.—Houston [1st Dist.] 2004, no pet.).

That means the six elements of Texas common law fraud must be established: (1) that a material

representation was made; (2) that the representation was false; (3) that the representation was “made

with knowledge of its falsity or recklessness as to its truth;” (4) that the representation was “made

with the intention that it should be acted upon by another party;” (5) that the representation was

relied upon by the party to whom the representation was made; and (6) that the party relying on the

representation was injured thereby. Id. (quoting Flaherty & Crumrine Preferred Income Fund, Inc.

v. TXU Corp., 565 F.3d 200, 212-13 (5th Cir. 2009). The reliance element is only met where there

was actual reliance, and the reliance was justifiable. JPMorgan Chase Bank, N.A. v. Orca Assets

G.P., L.L.C., 546 S.W.3d 648, 653 (Tex. 2018).

        Here, Fontenot maintains that she only signed the Separation Agreement because she was

told by her managers on April 9, 2020, the date she was informed of her RIF termination, that she

had to sign the separation agreement in order to receive her final paycheck. Fontenot argues that

the representations by her managers constitute duress and/or fraudulent inducement that should serve

to invalidate the Separation Agreement. Fontentot states in this regard, in a Declaration she filed

in response to Community Coffee’s Motion for Summary Judgment, that:


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       3.      . . . On April 9, 2020, I received an unexpected call from my first-line
               manager, Tommy Martin (“Martin”), and [Beau] Brown [second-line
               manager] on my day off from work terminating my employment with
               Community Coffee. During the conversation, Brown and Martin informed
               me my employment was terminated immediately and individuals would be
               coming to my home immediately to collect my company vehicle and other
               company-issued electronic devices. I was completely blindsided by this call
               and abrupt termination.

       4.      Brown and Martin further told me that I would be sent separation documents
               that were required to be executed if I wanted to receive my final paycheck.
               I attempted to ask for clarification and why I needed to sign these documents
               before I received my final paycheck but was advised by Brown and Martin
               that the decision had been made and the execution of the separation
               documents were [sic] non-negotiable. I felt bullied by the entire separation
               conversation with Brown and Martin and by how Community Coffee
               pressured me to make myself available so it could retrieve the company
               vehicle and company-issued electronics. I felt like I had no other options in
               this situation.

       5.      My termination occurred during the peak of the COVID-19 pandemic, so I
               could not take the chance of not receiving my final paycheck. I had no time
               to consider all the information that was given to me since Martin and Brown
               stated I needed to execute and return the separation documents to receive my
               final paycheck. I had no time to consult with an attorney to verify my rights.
               Even though I am a college graduate, I do not have a legal background and
               did not have experience in reviewing and negotiating legal agreements. I
               struggled to understand the legal terms of the document and I did not
               understand the broad scope of the agreement. Ultimately feeling that I had
               no options, I executed and returned the separation documents.

Declaration of Danielle Fontenot (Document No. 17-1) at 1-2. These statements in Fontenot’s

Declaration do not raise a genuine issue of material fact on the validity and enforceability of the

release contained in the Separation Agreement.

       The Separation Agreement contained a clear provision regarding the release of any and all

claims related to Fontenot’s employment with Community Coffee:

       2.      In exchange for the obligations and commitments Employee makes in this
               Agreement, the Company agrees to pay Employee separation pay in the
               amount of $15,033.44 with all payments being subject to withholdings as

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       explained herein. The lump sum separation pay will be made on the
       Company’s first scheduled bi-weekly pay date following Employee’s
       execution of the Agreement. Employee acknowledges that the above-
       described separation pay is not required by Company policy but instead is an
       extra payment to which Employee otherwise would not be entitled, absent
       execution of this Agreement.

 3.    By entering into this Agreement and in exchange for the above payments
       Employee hereby waives, releases, discharges, and agrees not to sue the
       Company or any of its past, present or future officers, employees, directors,
       shareholders, members, owners, agents and plan administrators with regard
       to any and all claims, past or present, relating to Employee’s
       employment or termination of employment with the Company,
       including, but not limited to, any and all claims and demands arising under
       the Laws of the State of Texas, including but not limited to, any and all
       statutory or equity claims; Chapter 21 of the Texas Labor Code (also known
       as the “Texas Commission on Human Rights Act”), including Tex. Lab.
       Code §§ 21.051 and 21.055, and the Texas Genetic Testing Law (Tex. Lab.
       Code § 21.401 to 21.405); Texas Civil Practice and Remedies Code,
       including any claim for attorneys’ fees under Chapter 38 of the Texas Civil
       Practice and Remedies Code; Texas Communicable Diseases Law, Tex.
       Health & Safety Code § 81.101, et seq., and any other claims under the Texas
       Health and Safety Code; Texas Disability Discrimination Law, Tex. Hum,
       Res. Code § 121.001, et seq; Texas Occupations Code; Texas Payday Law,
       Chapter 61 of the Texas Labor Code, and any other claims under the Texas
       Labor Code; Texas Workers’ Compensation Act (including retaliation and
       other claims under Chapter 451 of the Texas Labor Code, formerly Article
       8307c of the Texas Workers’ Compensation Act); as well as claims based
       upon allegations of discrimination, or harassment on account of race,
       sex, national origin, age, religion, genetic testing, disability, handicap,
       genetic information or Veterans’ status,; wrongful discharge;
       retaliation; breach of contract; breach of public policy; interference with
       rights; defamation; tort; or any other statutory, constitutional, or
       common/civil law cause of action brought under federal, state or local
       law, statute, or constitution, including, but limited to claims arising
       under Title VII of the Civil Rights Act (“Title VII”), the Civil Rights Act
       of 1866 and 1871, the federal Age Discrimination in Employment Act
       (“ADEA”), the Family and Medical Leave Act (“FMLA”); claims arising
       under the Employee Retirement Income Security Act (“ERISA”); or any
       other statutory, constitutional, or common/civil law cause of action arising
       under federal or state law, including but not limited to any and all claims for
       compensation, wages, back pay, benefits, vacation pay, sick pay, bonuses,
       personal injuries, emotional distress, pain and suffering, penalties, liquidated
       damages, punitive damages, interest and attorneys’ fees; provided, however,

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               nothing in this release shall waive or diminish Employee’s rights (a) to
               receive benefits or distributions to which she may be entitled under the terms
               of the Community Coffee 401(k) Plan and (b) to receive health care coverage
               under the federal continuation of health coverage known as “COBRA”. This
               release includes the waiver of any right of recovery, which may arise from
               any action instituted by another party or individual on Employee’s behalf
               relating to matters covered by this Agreement.

       4.      Employee agrees and promises never to file a lawsuit, complaint or other
               claim asserting any claim or demand that is within the scope of the
               release and waiver. Employee represents that she has not filed any
               complaints, claims, actions, or charges against the Company with any state,
               federal, or local agency or court; that she knows of no facts which may lead
               to any complaints, claims, action or charged against the Company in or
               through any state, federal, or local agency or court; and that she has not made
               the Company aware of any facts which may lead to any complaints, claims,
               actions, or charges against the Company in and through any state, federal, or
               local agency or court. Nothing in this Agreement is intended to limit or
               impair in any way Employee’s right to file a charge with the U.S. Equal
               Employment Opportunity Commission (EEOC) or comparable federal, state
               and local agencies, or to limit or impair Employee’s right to participate in
               any such charge filed with or investigation conducted by such agencies.

Separation Agreement at 2-3 (sealed Document No. 16-2 at 3-4) (emphasis added). In addition, the

Separation Agreement itself also advised Fontenot that she could consult with an attorney before

signing/executing it and that she had forty-five (45) days to make up her mind about whether to

sign/execute it:

       7.      Employee understands that she is free to consult with legal counsel prior to
               signing this Agreement. Employee further acknowledges that she has been
               given a period of up to forty-five (45) days from her receipt of this
               Agreement to consider the Agreement, and that by signing the Agreement,
               she does so knowingly, voluntarily, and after having has opportunity to seek
               legal counsel.

Separation Agreement at 4 (sealed Document No. 16-2 at 5).




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       The terms of the Separation Agreement, particularly paragraph 7, override any claims by

Fontenot that she signed the Separation Agreement under duress and/or that she was fraudulently

induced into signing/executing the Separation Agreement. To the extent Fonteont states in her

Declaration that her managers told her she had to sign the Separation Agreement and had to do so

in order to receive her final paycheck, Fontenot could not have justifiably relied on her managers

statements in light of paragraph 7 of the Separation Agreement. See Clements v. HLF Funding, No.

05-19-01295-CV, 2021 WL 3196962, at *8 (Tex. App. July 28, 2021) (“Reliance may not be

justified where the representations are directly contradicted by the terms of the contract between the

parties or where there are “red flags” indicating such reliance is unwarranted.”); Harrison v. Meritz

Fire & Marine Ins. Co., No. 14-18-00336-CV, 2020 WL 2070660, at *3 (Tex. App. Apr. 30, 2020),

review denied (Mar. 5, 2021) (“‘[A] party to a written contract cannot justifiably rely on oral

misrepresentations regarding the contract's unambiguous terms.’”); Kennedy v. Harber, No.

05-17-01217-CV, 2018 WL 3738091, at *4 (Tex. App. Aug. 7, 2018) (“Reliance on an oral

representation that is directly contradicted by the express, unambiguous terms of a written agreement

between the parties is not justified as a matter of law.”) (citing JPMorgan Chase Bank, N.A. v. Orca

Assets G.P., L.L.C., 546 S.W.3d 648, 654 (Tex. 2018). Moreover, Fontenot’s economic position and

financial stress does not establish the type of legal or economic duress that could invalidate the

Separation Agreement. See e.g. Walkup v. Tyson Foods, Inc., No. 7:13-CV-0150-O, 2014 WL

4798443, at *6 (N.D. Tex. Sept. 26, 2014) (employee failed to establish economic duress to

invalidate a settlement agreement/release).

       Here, because the terms of the Separation Agreement both covered the claims at issue in this

case, and provided Fontenot with considerable time to consider whether to sign/execute the


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Separation Agreement, the summary judgment evidence does not raise a genuine issue of material

fact on Fontenot’s duress and fraudulent inducement defenses to the validity and enforceability of

the Separation Agreement. Accordingly, Community Coffee’s Motion for Summary Judgment

should be granted.



IV.     Conclusion and Recommendation

        Based on the foregoing, and the conclusion that Plaintiff Danielle Fontenot legally and

validly released the claims made the basis of this suit when she executed the Separation Agreement,

and that there is no genuine issue of material fact on her claim that she signed the Separation

Agreement under duress, or was fraudulently induced to sign/execute the Separation Agreement, the

Magistrate Judge

        RECOMMENDS that Defendant’s “Motion for Summary Judgment Based on the Valid and

Enforceable Separation Agreement Between the Parties” (Document No. 16) be GRANTED and that

Plaintiff’s claims all be DISMISSED WITH PREJUDICE.

        The Clerk shall file this instrument and provide a copy to all counsel and unrepresented

parties of record. Within 14 days after being served with a copy, any party may file written

objections pursuant to 28 U.S.C. § 636(b)(1)(C), Fed.R.Civ.P. 72(b), to the recommendation made

herein relative to Defendant’s Motion to Dismiss.    Failure to file objections within such period

shall bar an aggrieved party from attacking factual findings on appeal. See Thomas v. Arn, 474 U.S.

140 (1985); Ware v. King, 694 F.2d 89 (5th Cir. 1982) (en banc). Moreover, absent plain error,

failure to file objections within the fourteen-day period bars an aggrieved party from attacking

conclusions of law on appeal. See Douglass v. United Serv. Auto Ass’n, 79 F.3d 1415, 1429 (5th


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Cir. 1996). The original of any written objections shall be filed with the United States District Court

Clerk, P.O. Box 61010, Houston, Texas 77208.

       Signed at Houston, Texas, this 11th day of January, 2022.




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